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     Of Counsel:
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 9

10   Attorneys for the United States of America

11                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
12                                        TACOMA DIVISION
13

14   UNITED STATES OF AMERICA,              )
                                            )                   Case No. 3:19-cv-5792
15            Plaintiff,                    )
                                            )                   COMPLAINT FOR RECOVERY OF
16            v.                            )                   CIVIL PENALTIES
17                                          )
     ARTHUR DITTO,                          )
18                                          )
              Defendant.                    )
19   _______________________________________)
20
             Plaintiff, the United States of America (“United States”), pursuant to 31 U.S.C. §
21
     3711(g)(4)(C)), brings this timely action to collect from the defendants outstanding civil
22
     penalties (31 U.S.C. § 5321(a)(5)), commonly known as an FBAR penalty, which were assessed
23
     against Arthur Ditto, for his willful failure to timely report his financial interest in, and/or his
24
     signatory authority over, foreign bank accounts for the 2005 through 2012 calendar years, as
25
     required by 31 U.S.C. § 5314 and its implementing regulations, as well as all associated penalties
26
     Complaint for Recovery of Civil Penalties   1                        U.S. DEPARTMENT OF JUSTICE
     (Case No. 3:19-cv-5792)                                              Tax Division, Western Region
                                                                          P.O. Box 683
                                                                          Washington, D.C. 20044
                                                                          Telephone: 202-305-3719
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 1   and interest, having a total balance due to the United States of America of $3,965,778.00 as of
 2   August 29, 2017. Additionally, the United States intends to proceed under the Federal Debt
 3   Collection Practices Act (28 U.S.C. § 3001 et seq.) to collect any judgment it obtains in this case,
 4   including the use of all appropriate pre-judgment remedies, post-judgment remedies, and the
 5   additional surcharge as authorized by 28 U.S.C. § 3011. In support of this action, the United
 6   States alleges as follows:
 7                                               DEFENDANT
 8           1.       Defendant Arthur Ditto (“Mr. Ditto”) was a United States citizen at all times
 9   relevant to the assessment of the outstanding liabilities at issue in this action. Mr. Ditto resides in
10   Gig Harbor, Washington.
11                                        JURISDICTION AND VENUE
12           2.       Jurisdiction over this action is conferred upon this district court by 28 U.S.C.
13   §§ 1331, 1345, and 1355.
14           3.       Venue is proper under 28 U.S.C. § 1391(b)(1) because Mr. Ditto resides in this
15   district, and venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the events
16   or omissions giving rise to the claim occurred in this district.
17                              LEGAL AUTHORITY FOR FBAR PENALTY
18           4.       31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require United States
19   persons to report certain transactions with foreign financial agencies. Under the statute’s
20   implementing regulations, “[e]ach United States person having a financial interest in, or
21   signature authority over, a bank, securities, or other financial account in a foreign country shall
22   report such relationship” to the Internal Revenue Service (“IRS”) for each year in which such
23   relationship exists. 31 C.F.R. § 1010.350(a).
24           5.       To fulfill this requirement, a person must file a Form TDF 90-22.1, “Report of
25   Foreign Bank and Financial Accounts,” commonly known as an “FBAR.” For the years at issue,
26
     Complaint for Recovery of Civil Penalties   2                       U.S. DEPARTMENT OF JUSTICE
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 1   the FBAR was due no later than June 30 of the following calendar year. 31 C.F.R. § 1010.306(c).
 2           6.       31 U.S.C. § 5321(a)(5) authorizes the imposition of civil penalties for a willful
 3   failure to comply with the reporting requirements of 26 U.S.C. § 5314. Specifically, section
 4   5321(a)(5)(C) provides for a penalty in the amount of the greater of $100,000 or 50% of the
 5   balance in the account at the time of the violation.
 6           7.       The penalty set forth under 31 U.S.C. § 5321(a)(5)(C) is subject to interest and
 7   further penalties under 31 U.S.C. § 3717.
 8                                 DEFENDANT’S FAILURE TO REPORT
 9                       HIS INTEREST IN FOREIGN FINANCIAL ACCOUNTS
10           8.       Mr. Ditto is originally from Canada. He moved to the United States in 1961 and
11   became a naturalized U.S. citizen in or around 1979.
12           9.       From in or around 1982 to 1993, Mr. Ditto was President, CEO, and Board
13   Chairman of Plexus Resources Corporation. Following a merger in 1993 through approximately
14   2005, Mr. Ditto was the President, Chief Operating Officer, and a director of Kinross Gold
15   Corporation (“Kinross”), and President and Chief Executive Officer of Kinross Gold U.S.A,
16   which was the operating subsidy for all United States operations.
17           10.      While President and CEO of Kinross, Mr. Ditto explored the possibility of
18   opening a mine in the Democratic Republic of Congo (formerly known as Zaire).
19           11.      Mr. Ditto formed a joint venture, called Kinross Forrest Limited, with Kinross
20   and the Forest Group to give legitimacy to the project, but with the understanding that Mr. Ditto
21   would ultimately purchase Kinross’s interest in the mine. Kinross owned 60% of Kinross Forrest
22   Limited and the Forest Group owned the remaining 40%.
23           12.      Kinross Forest Limited owned 75% of the mine and the Democratic Republic of
24   Congo owned the remaining 25%.
25

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 1           13.      In or around 2004, Mr. Ditto set up “Balloch,” a Bermuda foreign shell
 2   corporation, which acquired Kinross’s ownership interest in Kinross Forrest Limited.
 3           14.      The Challis Trust is a foreign irrevocable discretionary trust that was created in
 4   the Bailiwick of Jersey (“Jersey”) in 1996.
 5           15.      The Challis Trust was created in Jersey because Mr. Ditto believed Jersey has a
 6   special status that makes it attractive as a domicile for banking.
 7           16.      Mr. Ditto placed 50,000 Balloch shares in the Challis Trust in or around
 8   November 2005. The shares were deposited to account XXX-XXXXX3-159 at RBC Dexia
 9   Investor Services nominally titled in the name of York Investments Ltd c/o Middlemarch
10   Partners Ltd (“York”). York is a foreign shell corporation that was set up in Anguilla in
11   June1996 to manage the associated foreign bank account owned by the Challis Trust.
12           17.      Mr. Ditto placed his Balloch shraes in the Challis Trust because he wanted to
13   have “a separation” to protect himself from liability for his business activity in Africa.
14           18.      The beneficiaries of the Challis Trust were Mr. Ditto, Elena Gail McCallum (Mr.
15   Ditto’s wife), and Mr. Ditto’s four sons.
16           19.      On July 21, 2005, Mr. Ditto received a distribution for 50,000 Canadian dollars
17   from the Challis Trust.
18           20.      On March 17, 2006, Mr. Ditto created the Keswick Trust as a successor to the
19   Challis Trust. Mr. Ditto is the sole trustee of the Keswick Trust.
20           21.      The beneficiaries of the Keswick Trust are Mr. Ditto, Gail McCallum, Mr. Ditto’s
21   four sons, and the Arthur H. Ditto Family Foundation.
22           22.      On August 8, 2007, all assets of Challis Trust were transferred to the Keswick
23   Trust. The total assets transferred were $1,440,519.16. The assets primarily came from Mr.
24   Ditto’s Balloch shares and commission income from Kinross.
25

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     Complaint for Recovery of Civil Penalties   4                        U.S. DEPARTMENT OF JUSTICE
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 1               23.   The Keswick Trust held foreign bank accounts in the name of Tain Holdings Ltd
 2   Ltd c/o Middlemarch Partners Ltd (“Tain”). Tain is a foreign shell corporation set up to manage
 3   the associated foreign bank accounts owned by the Keswick Trust.
 4               24.   Tain was incorporated in the British Virgin Islands in 2004.
 5               25.   Mr. Ditto requested and received funds from the Keswick Trust when needed. In
 6   July 2011, Mr. Ditto received a $400,000 loan from the Keswick Trust.
 7               26.   Mr. Ditto was actively involved in the investment decisions of the Keswick Trust.
 8               27.   Mr. Ditto filed timely FBARs for calendar years 2005 through 2012 that listed his
 9   personal foreign accounts, but omitted the Challis Trust and the Keswick Trust’s foreign
10   accounts, which were nominally titled in the names York and Tain, respectively.
11               28.   In addition to his personal foreign accounts, in the years 2005 through 2012, Mr.
12   Ditto had a financial interest in and signatory authority over foreign bank accounts, in various
13   countries, as described below:
14       Name on        Account Number                    Name of Bank                  Location        Years
         Account                                                                        of Bank        Interest
15                                                                                                      Held
         Tain1         01XXX/XX0823               Deutsche Bank                        Jersey         2005-2010
16       Tain2         02XXX/XX0823               Deutsche Bank                        Jersey         2005-2010
         York          XXX-XXXXX3-159             RBC Dexia Investor Services          Canada         2005-2008
17       Tain          01XXXXXXX23/01             Deutsche Bank                        Jersey         2008-2010
         Tain          02XXXXXXX23/02             Deutsche Bank                        Jersey         2008-2010
18       Tain          XXX-XXXXX3-369             RBC Dexia Investor Services          Canada         2008-2011
19       Tain          XXX-XXXXX3-370             RBC Dexia Investor Services          Canada         2010-2011
         Tain          XX1778                     Compagnie Monesgasque de             Monaco         2011-2012
20                                                Banque

21

22   1
      This bank account was originally titled in the name of Whitmill Trust Co Limited RE Tain Holdings ltd. The name
23   was changed in 2008 to Tain Holdings Ltd C/O Middlemarch partners Ltd.

     2
24    This bank account was originally titled in the name of Whitmill Trust Co Limited RE Tain Holdings ltd. The name
     was changed in 2008 to Tain Holdings Ltd C/O Middlemarch partners Ltd.
25

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     Complaint for Recovery of Civil Penalties      5                          U.S. DEPARTMENT OF JUSTICE
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 1           29.      On December 24, 2013, Mr. Ditto was accepted into the 2012 Offshore Voluntary
 2   Disclosure Program (“OVDP”), and he admitted he was the beneficial owner of the bank
 3   accounts listed in the chart in paragraph 29.
 4           30.      The OVDP is an IRS program that offers taxpayers with undisclsosed income an
 5   opportunity to become current with their tax returns. As part of the OVDP, Mr. Ditto filed
 6   amended FBARs for the 2005 through 2012 calendar years that included the previously omitted
 7   trust accounts listed in the chart in paragraph 29. Mr. Ditto also filed Forms 1040X (“Amended
 8   U.S. Individual Income Tax Return”), admitting he failed to report taxable income that had been
 9   concealed in the undisclosed foreign accounts listed in the chart in paragraph 29 in each of the
10   2005-2012 tax years.
11           31.      In the delinquent FBARs, Mr. Ditto reported that the aggregate maximum U.S.
12   dollar value of his interest in the foreign accounts (otherwise referred to as the “highest account
13   balance”) exceeded $10,000 at all relevant times.
14           32.      Mr. Ditto was removed from the OVDP in June 2016 for failure to cooperate
15   because he failed to fully respond to IRS Information Document Requests.
16           33.      After Mr. Ditto was removed from the OVDP, the IRS conducted examinations of
17   Mr. Ditto’s FBAR obligations for calendar years 2005 through 2012. Based on the examination,
18   Mr. Ditto was assessed civil penalties for his willful failure to report his interest in the foreign
19   financial accounts listed in the chart in paragraph 29 for the 2005-2012 calendar years.
20                     CLAIM FOR RELIEF: JUDGMENT FOR CIVIL PENALTY
21          Liability for the Civil Penalties
22           34.      During the 2005 through 2012 calendar years, Mr. Ditto was a United States
23   person within the meaning of 31 C.F.R. § 1010.350(b).
24

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 1           35.      During the 2005 through 2012 calendar years, Mr. Ditto had a financial interest in
 2   the foreign accounts listed in the chart in paragraph 29 and/or signatory authority over the
 3   foreign accounts, within the meaning of 31 C.F.R. § 1010.350(f).
 4           36.      The foreign accounts listed in the chart in paragraph 29 were bank accounts in a
 5   foreign country.
 6           37.      For each of the years 2005 through 2012, the balance of the foreign accounts
 7   listed in the chart in paragraph 29, individually and/or collectively, exceeded $10,000.
 8           38.      Mr. Ditto failed to file FBARs with regard to the 2005 through 2012 calendar
 9   years that disclosed his interest in each of the foreign accounts listed in the chart in paragraph 29
10   on or before each of the applicable deadlines, as required by 31 U.S.C. § 5314 and 31 C.F.R.
11   § 103.27(c).
12           39.      The failure of Mr. Ditto to timely file FBARs that disclosed each of his foreign
13   accounts listed in the chart in paragraph 29 with regard to the 2005 through 2012 calendar years
14   was willful within the meaning of 31 U.S.C. § 5321(a)(5).
15           Assessment and Collection of the Civil Penalty
16           40.      On August 29, 2017, a delegate of the Secretary of the Treasury timely assessed
17   civil penalties against Mr. Ditto, due to the willful failure of Mr. Ditto to disclose the foreign
18   accounts listed in the chart in paragraph 29 to the IRS (“FBAR Penalty”) for each of the years
19   2005 through 2012. The total penalty amount that the United States seeks to reduce to judgment
20   is $3,965,778.00 as of August 29, 2017.
21           41.      The assessments of the FBAR penalties was timely. Pursuant to 31 U.S.C.
22   § 5321(b)(1), the statute of limitations for the assessment of an FBAR penalty is six years. On
23   November 12, 2015, Mr. Ditto’s counsel signed a consent to extend the time to assess the civil
24   penalties under 31 U.S.C. § 5321 for the 2005 through 2012 years until December 31, 2017. On
25   March 31, 2017, Mr. Ditto’s counsel signed a consent to extend the time to assess the civil
26
     Complaint for Recovery of Civil Penalties   7                       U.S. DEPARTMENT OF JUSTICE
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 1   penalties under 31 U.S.C. § 5321 for the 2005 through 2012 years until December 31, 2018. The
 2   FBAR penalties for the 2005 through 2012 years were timely assessed on August 29, 2017.
 3           42.      A delegate of the Secretary of Treasury sent Mr. Ditto notice of the assessment of
 4   the FBAR Penalties and demand for payment.
 5           43.      Despite notice and demand for payment, Mr. Ditto has failed to pay the penalties
 6   assessed against him with respect to his willful failure to file an FBAR for the 2005, 2006, 2007,
 7   2008, 2009, 2010, 2011, and 2012 calendar years.
 8           44.      In addition to the FBAR Penalties, Mr. Ditto, owes late-payment penalties
 9   pursuant to 31 U.S.C. § 3717(e)(2), and 31 Code of Federal Regulations § 5.5(a), and interest
10   according to law.
11           45.      Mr. Ditto is liable to the United States of America for the FBAR Penalty, as well
12   as associated penalties and interest, in the total amount of $3,965,778.00 as of August 29, 2017,
13   plus statutory accruals from that date until the liability is paid in full.
14           46.      This is a timely civil action to collect the FBAR Penalty, and the associated
15   penalties and interest under 31 U.S.C. § 5321(b)(2).
16           WHEREFORE, the United States of America demands that this Court:
17                 A. Enter judgment in favor of the plaintiff, United States of America, and against
18                    Arthur Ditto with regard to the 2005, 2006, 2007 2008, 2009, 2010, 2011, and
19                    2012 calendar year reporting periods, as well as associated penalties and interest,
20                    in the total amount of $3,965,778.00 as of August 29, 2017, plus statutory
21                    accruals from that date until fully paid; and
22                 B. Award the United States of America its costs and such other further relief as the
23                    Court deems just and proper.
24           //
25           //
26
     Complaint for Recovery of Civil Penalties   8                         U.S. DEPARTMENT OF JUSTICE
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 1                    DATED this 27th day of August, 2019.
                                                        Respectfully submitted,
 2

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